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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 JUDITH RISCH,

         Plaintiff,

          v.                                                      No. 20-cv-3213-ZMF

 MIGUEL CARDONA,
 U.S. Secretary of Education,

         Defendant.



                              STANDING ORDER IN CIVIL CASES


        It is the responsibility of the parties, counsel, and the Court to “secure the just, speedy, and
inexpensive determination of every action and proceeding” in federal court. Fed. R. Civ. P. 1.
To ensure that this case is resolved fairly and without undue cost or delay, it is hereby ORDERED
that the parties comply with the following directives:

     1. Local Rules

         Counsel shall familiarize themselves with the Local Civil Rules, which are available at
         http://www.dcd.uscourts.gov/court-info/local-rules-and-orders/local-rules. Absent order
         of the Court, the parties shall comply with the Local Civil Rules in all respects.

     2. Contact Information

         All counsel shall ensure that their phone number, current mailing address, and email
         address are correctly listed on the Court’s docket. Pro se parties shall ensure that their
         phone number, current mailing address, and email address are correctly listed on the
         Court’s docket. Any counsel or pro se party whose contact information changes while
         this case is pending should immediately file a notice with their updated information. If
         the Court is unable to contact counsel or a pro se party due to a failure to comply with
         this requirement, the Court may dismiss the action for failure to prosecute or take other
         appropriate action.




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3. Service of Complaint & Standing Order; Removed Actions

   a. Service. The plaintiff(s) must promptly serve the complaint on the defendant(s), in
      accordance with Federal Rule of Civil Procedure 4; file proof of service, in accordance
      with Local Civil Rule 5.3; and ensure that all parties receive a copy of thisStanding
      Order. For in forma pauperis plaintiffs, “officers of the [C]ourt” will ensure that
      service on the defendant(s) is properly effected. See 28 U.S.C. § 1915(d).
   b. Removed Action. A defendant removing an action to this Court must refile as a
      supplement to the petition any answer and must promptly ensure that all parties
      receive a copy of this Standing Order. Any pending motion at the time of removal
      must be refiled in this Court by the party seeking relief for the motion to be
      considered. See Fed. R. Civ. P. 81(c)(2). Counsel for the plaintiff shall promptly
      enter her appearance before this Court.
   c. Disclosure Certificate. To facilitate the Court’s determination of the need for recusal,
      in all civil or agency actions where a corporation is a party or intervenor, counsel of
      record for that party or intervenor shall file, in accordance with Federal Rule of Civil
      Procedure 7.1 and Local Civil Rules 7.1 and 26.1, a certificate listing for that party or
      intervenor any parent corporation, subsidiary or affiliate, which to the knowledge of
      counsel has any outstanding securities in the hands of the public, or any publicly held
      corporation owning 10% or more of its stock. Such certificate shall be filed at the time
      of filing the party’s first pleading. Counsel shall have the continuing obligation to
      advise the Court of any change.

4. Communications with Chambers

   Except as authorized in this order, the parties may not contact chambers by telephone. If
   extraordinary circumstances or emergencies so require, however, counsel may contact
   chambers jointly via telephone conference. Chambers will not provide legal advice of
   any kind.

5. Duty to Confer

   a. Timing. Generally, the parties must meet and confer after any defendant first files an
      answer. See Fed. R. Civ. P. 26(f). The parties must file the Joint Meet and Confer
      Report required by Local Civil Rule 16.3(d) within thirty days after any defendant files
      an answer or, if dispositive motions are filed pursuant to Federal Rule of Civil Procedure
      12(b), within fourteen days after resolution of dispositive motions, unless the Court
      orders otherwise. Later-served or joined parties are required to comply with the
      Scheduling Order entered based on the original Joint Meet and Confer Report, unless,
      upon motion, they seek modification of the Order.
   b. Exempted Cases. Notwithstanding that the requirement to confer and submit a Joint
      Meet and Confer Report does not apply to certain exempted cases, see Fed. R. Civ. P.
      26(a)(1)(B) and Local Civil Rule 16.3(b), in the following categories of exempted cases,
      an abbreviated Joint Meet and Confer Report is required:
        i. Cases Involving Judicial Review of Agency Action: In any action for review on an
           administrative record, counsel for the parties shall jointly prepare and submit a

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             report to the Court, within fourteen days after any defendant files an answer,
             proposing a schedule for the filing the administrative record and any motions.
        ii. FOIA Cases: In any action arising under the Freedom of Information Act
             (“FOIA”), 5 U.S.C. § 552, counsel for the parties shall jointly prepare and submit
             a report to the Court, within fourteen days after any defendant files an answer,
             indicating whether the agency has made a final determination “whether to comply”
             with any FOIA request at issue, § 552(a)(6)(A)(i).
                      a. If such a final determination has been made, the parties shall propose
                         a schedule for the filing of dispositive motions.
                      b. If no final determination has been made, the joint report shall contain
                         (1) an estimate provided by the defendant of when the agency expects
                         a final determination to be made; (2) a proposed schedule for
                         production of responsive records; and (3) a proposed schedule for the
                         filing of dispositive motions.
   c. Report Contents. The Joint Meet and Confer Report in cases subject to Local Civil Rule
      16.3(d) must address all matters listed in Federal Rule of Civil Procedure 26(f)(2) & (3)
      and Local Civil Rule 16.3(c), and must also include:
        i. a brief statement describing the nature of the case and the statutory basis of the
             Court’s jurisdiction for all causes of action and defenses;
        ii. a proposed scheduling order in accordance with Local Civil Rule 16.3(d); and
        iii. any request for a conference with the Court before entry of the Scheduling Order.

6. Initial Status Conference and Issuance of Scheduling Order

   a. After submission of the Joint Meet and Confer Report, the Court will if necessary
      schedule an initial status conference to address matters that are not addressed or agreed
      to by the parties in the Joint Meet and Confer Report. As soon as practicable after
      submission of the Joint Meet and Confer Report or following the Initial Status
      Conference, the Court will issue a scheduling order governing proceedings in the case.
      See Fed. R. Civ. P. 16(b); Local Civil Rule 16.4.

7. Electronic Filing

   a. General Rule. Except as otherwise provided in Local Civil Rule 5.4, all filings must
      be made through the Court’s CM/ECF system.
   b. Pro Se Parties. A pro se party may obtain a CM/ECF password from the Clerk with
      leave of Court. To obtain leave of Court, the pro se party must file a written motion
      entitled “Motion for CM/ECF User Name and Password,” describing the party’s
      access to the internet, confirming the capacity to file documents and receive the filings
      of other parties electronically on a regular basis, and certifying that he or she either
      has successfully completed the entire Clerk’s Office online tutorial or has been
      permitted to file electronically in other federal courts.
   c. Sealing. Instructions for filing sealed documents in non-sealed cases are available at
      http://dcd-dev.jdc.ao.dcn/sites/dcd/files/AttySealedCivilREVMay2014.pdf.
   d. Timeliness. The Court may take into consideration technical difficulties experienced
      by a filer when presented a late filing. However, parties who wait until the last minute
      to begin filing are warned that technical difficulties do not necessarily constitute “good

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      cause” or “excusable neglect” justifying an extension of the applicable deadline(s).
      Fed. R. Civ. P. 6(b). Further, no allowance can be made for late filing documents
      whose time limits are jurisdictional.
   e. Assistance with CM/ECF. Chambers cannot assist with questions about CM/ECF.
      Such inquiries should be made to the CM/ECF Help Line at (202) 354-3190.

8. Courtesy Copies

   For motions for which the total combined submissions from both parties, including
   exhibits, exceeds one hundred pages in total length or for any motion for summary
   judgment, the moving party shall deliver one printed courtesy copy of all of the motion
   papers at the time the reply is filed. In the case of cross-motions, the initial moving party
   shall provide the courtesy copy of the full set of briefing. Such courtesy copies should
   include the headers added by the Case Management/Electronic Case Files (CM/ECF)
   System and be submitted in binders, three-hole punched, with double-sided pages. Briefs
   and exhibits shall be tabbed and indexed for ease of reference. Courtesy copies should be
   mailed to chambers, not the Clerk’s Office. If hand delivered, courtesy copies should be
   delivered to the loading dock for screening and should not be delivered directly to
   chambers. If the parties have redacted or filed under seal any portion of the motion papers
   or attendant exhibits, courtesy copies are to be unredacted, but the portions redacted from
   public filings should be highlighted, so that the Court will know to refrain from quoting
   those passages in opinions and orders. Pro se parties are excused from complying with
   the courtesy-copy requirement.

9. Discovery

   a. Discovery Material. Discovery material shall not be filed with the Court unless so
      ordered. See Local Civil Rule 5.2(a).
   b. Discovery Disputes. Counsel are referred to Local Civil Rule 26.2 and are expected to
      comply fully with its directives. Before bringing a discovery dispute to the Court’s
      attention, the parties shall confer in good faith in an attempt to resolve the dispute
      informally. See Fed. R. Civ. P. 26(c), 37; Local Civil Rule 7(m). If the parties are
      unable to resolve the dispute informally, they shall jointly email the Court (at
      Faruqui_Chambers@dcd.uscourts.gov), providing a clear, concise description of the
      issues in dispute and proposing dates and times for a teleconference to discuss those
      issues. Counsel shall not file any discovery-related motion without a prior
      telephone conference with the Court and opposing counsel.
   c. Depositions. Counsel must adhere to the following guidelines when taking a deposition:
         i. All counsel are to conduct themselves in a civil, polite, and professional manner.
              The Court will not countenance incivility or other behavior during the deposition
              demonstrating that the examination is being conducted in bad faith or to simply
              annoy, embarrass, or oppress the deponent.
         ii. Counsel for the deponent shall refrain from gratuitous comments and from
              directing the deponent as to times, dates, documents, testimony, and the like.
         iii. Counsel shall refrain from objecting in any manner other than stating an objection
              for the record followed by a word or two describing the legal basis for the
              objection.

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         iv. Counsel shall refrain from directing the deponent not to answer any question except
             for reasons that conform to Fed. R. Civ. P. 30(c)(2).
         v. Counsel shall refrain from engaging in dialogue on the record during the course of the
             deposition.
         vi. Counsel for any party or person given notice of the deposition may call for suspension
             of the deposition on the grounds that these conditions are not being adhered to and
             may immediately apply to the Court for a ruling and remedy. When appropriate, the
             Court will impose sanctions.

10. Amended Pleadings or Other Filings

   Any amended or proposed amended pleadings or other filings must be accompanied by a
   redline comparison between the original and the amended filing or proposed amended
   filing.

11. Motions

   The parties shall comply with the following instructions when briefing any motion. Motions
   filed not in compliance with this Standing Order may be rejected by the Court.

   a. Tables. Every memorandum of points and authorities that is ten pages or longer
      inlength must contain a Table of Contents and Table of Authorities, regardless of
      whether it is filed in support of or in opposition to a motion.
   b. Exhibits. Each submission that attaches more than one exhibit shall contain an
      index of exhibits. Exhibits shall be edited properly to exclude irrelevant material
      and to direct the Court’s attention to the pertinent portions thereof. Any non-
      conforming submissions will not be accepted.
   c. Signature. Every pleading or paper, regardless of whether it is signed by an attorney
      or a pro se party, shall contain the name, address, telephone number, and, for an
      attorney, bar identification number. Where counsel is appearing pro hac vice, the
      signature block shall so indicate.
   d. Penalties. The Court may reject any filing that, without leave, is filed out of time or
      exceeds the page limitations established in the Local Rules or in an Order of this Court.
   e. Responses. If counsel fails to file a memorandum of points and authorities in opposition to
      a given motion, the Court may treat the motion as conceded. Local Civil Rule 7(b).
      Similarly, if counsel fails to respond to arguments in opposition papers, the Court may treat
      those specific arguments as conceded. See Phrasavang v. Deutsche Bank, 656 F. Supp. 2d
      196, 201 (D.D.C. 2009).
   f. Sur-Replies. A party may not file a sur-reply without first obtaining leave of the
      Court. Sur-replies will only be permitted upon a specific showing of good cause.
   g. Supplemental Authorities. A party may bring supplemental authorities to the Court’s
      attention without seeking prior leave of the Court but should refrain from using the
      submission of supplemental authorities as an opportunity to reargue issues or to
      respond to arguments made in an opposing brief. Although the submission of
      supplemental authorities should not be made by letter to the clerk, but rather in a
      pleading filed in the usual manner, the parties are otherwise directed to follow the
      procedures set forth in Federal Rule of Appellate Procedure 28(j).

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12. Motions to Dismiss

   The parties are reminded that a motion to dismiss presenting matters outside the pleadings
   may be converted to a motion for summary judgment. Fed. R. Civ. P. 12(d). Ifa motion to
   dismiss presents matters outside the pleadings, all parties must comply fully will the
   instructions set forth below regarding motions for summary judgment.

13. Motions for Summary Judgment

   Parties must comply with the following instructions when briefing motions for summary
   judgment:

   a. Exempted Cases
        i. Cases Involving Judicial Review of Agency Action: In accordance with Local Civil
            Rule 7(h)(2), each motion for summary judgment, and opposition thereto, shall
            incorporate a statement of facts with references to the administrative record. The
            parties must furnish precise citations to the portions of the administrative record
            on which they rely; the Court need not consider materials not specifically
            identified. See Fed R. Civ. P. 56(c)(3).
        ii. FOIA Cases: The agency shall provide search declarations and Vaughn indices, if
            any, to therequester prior to seeking a pre-motion conference.

   b. All Other Cases
        i. If a party wishes to move for summary judgment, it must request that the Court
            schedule a pre-motion conference. To so request, the moving party shall submit
            a short notice via CM/ECF, not to exceed six double-spaced pages in length,
            setting forth the basis for the anticipated motion, including the legal standards
            and the claims at issue. Other parties shall respond by filing, within one week, a
            document of similar length setting forth their anticipated responses to the
            proposed motion. The Court will review and discuss with counsel any anticipated
            summary judgment motions at the pre-motion conference. This requirement
            shall not apply to incarcerated pro se litigants.
        ii. The Court strictly adheres to the dictates of Local Civil Rule 7(h), which requires
            that each party submitting a motion for summary judgment attach a statement of
            material facts for which that party contends there is no genuine dispute, with
            specific citations to those portions of the record upon which the party relies in
            fashioning the statement. The party opposing the motion must, in turn, submit a
            statement enumerating all material facts which the party contendsare genuinely
            disputed and thus require trial.
                     • The parties must furnish precise citations to the portions of the
                         record on which they rely; the Court need not consider materials not
                         specifically identified. See Fed. R. Civ. P. 56(c)(3). Parties are
                         directed to the samples in Appendices 1 & 2 of this Standing Order
                         for citation conventions.


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        iii. The moving party’s statement of material facts shall be a short and concise
             statement, in numbered paragraphs, of all material facts as to which the moving
             party claims there is no genuine dispute. The statement must contain only one
             factual assertion in each numbered paragraph, and each factual assertion must
             include a precise citation to the relevant portion of the record.
        iv. The party responding to a statement of material facts must respond to each
             paragraph with a correspondingly numbered paragraph, restate the movant’s
             statement, and indicate whether that paragraph is admitted or denied. If a
             paragraph is admitted only in part, the party must specifically identify which
             parts are admitted and which parts are denied.
         v. The Court may assume that facts identified by the moving party in its statement
             of material facts are admitted, unless such facts are controverted in the statement
             filed in opposition to the motion and are supported by a precise citation to the
             controverting evidence. Local Civil Rule 7(h).
        vi. The responding party must include any information relevant to its response in
             its correspondingly numbered paragraph, with specific citations to the record.
             However, if the responding party has additional facts that are not directly
             relevant to its response, it must identify such facts in consecutively numbered
             paragraphs at the end of its responsive statement of facts. If additional factual
             allegations are made, the opponent must file a responsive statement of its own.

14. Stipulations and Joint Motions for Protective Orders

   a. The parties may elect to file a stipulation that will become a part of the record of the case.
      The parties may not stipulate to extended deadlines, stays, or other matters altering the
      timing of the litigation or any other order of the Court. Moreover, no such stipulation
      shall be considered an enforceable Court order unless and until the Court signs the
      agreement.
   b. If the parties desire for this Court to sign any such stipulation or enter an order approving it,
      they must file a motion making that request. The motion must explain why cause exists for
      the Court to approve the stipulation, and the parties must submit the text of the proposed
      stipulation as an attachment to the motion.
   c. Joint motions to approve stipulated protective orders must contain a statement of good
      cause. See Fed. R. Civ. P. 26(c); Klayman v. Judicial Watch, Inc., 247 F.R.D. 19, 23 (D.D.C.
      2007).

15. Motions for Extension of Time

   Extensions or enlargements of time will only be granted upon motion, and not upon
   stipulation by the parties. Any party that intends to seek an extension must make a
   meaningful effort to ascertain the opposing party’s position with respect to the extension
   before filing a motion; an eleventh-hour telephone or email message left for opposing
   counsel, for example, will not typically satisfy the meet-and-confer requirement. Absent
   extraordinary circumstances, contested motions for extension of time shall be filed at least
   three business days before the relevant deadline. Motions for a continuance or other
   scheduling change must include alternative dates that have been agreed to by all parties.
   Requests that do not include an alternative date acceptable to all parties may be denied.

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16. Citation Matters and Cited Authorities

   Parties shall cite the U.S. Code rather than solely to a separately enumerated statute (e.g.,
   “8 U.S.C. § 1182” or “8 U.S.C. § 1182, INA § 212” rather than “INA § 212”). Parties
   citing to unpublished cases or other materials available only on fee-based databases shall
   cite to Westlaw, not Lexis, wherever possible. In cases involving pro se litigants, counsel
   shall, when serving a memorandum of law (or other submission to the Court), provide the
   pro se litigant with copies of cases or other authorities cited therein that are unpublished or
   reported exclusively on computerized databases.

   All record citations, including to briefs, shall be to the page number of the PDF file that
   contains the cited material, not to any internal pagination within the document. For
   previously filed materials, the parties must cite to the ECF-generated page numbers at the
   top of the documents (e.g., Dkt. 50 at 5). For contemporaneously filed materials, each
   exhibit shall be filed as a separate exhibit on ECF and the parties shall cite to the page
   number of the relevant PDF file (e.g., Ex. B at 5). If the document is organized by sections
   or numbered paragraphs, the parties shall provide the section or paragraph in a separate
   parenthetical (e.g., Dkt. 1 at 2 (Compl. ¶ 25)). Absent leave of the Court, parties must file
   the entire exhibit on which they rely, not merely the portions the party deemsrelevant.

17. Settlement

   The parties are expected to evaluate their respective cases for the purposes of settlement.
   The Court encourages the use of alternative dispute resolution—e.g., mediation or neutral
   case evaluation. The use of these methods is available at any time, as is a settlement
   conference before a magistrate judge. If counsel are interested in pursuing these options,
   they may contact Chambers at any time. If the case settles in whole or in part, counsel
   shall promptly advise the Court.
                                                                  Zia M. Faruqui
                                                                  2021.10.25 17:02:19
                                                 _________________________________
                                                                  -04'00'
  Date: October 25, 2021                         ZIA M. FARUQUI
                                                 UNITED STATES MAGISTRATE JUDGE




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     APPENDIX 1: SAMPLE STATEMENT OF UNDISPUTED MATERIAL FACT
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


JANE DOE,

       Plaintiff,

         v.                                                       No.    -cv-        -ZMF

JOHN ROE,

       Defendant.


            DEFENDANT’S STATEMENT OF UNDISPUTED MATERIAL FACT:

       1.      On December 5, 2019 at approximately 5:00 p.m. Plaintiff was in her car and

was traveling eastbound on C St. NW, approaching the intersection with 3rd St. NW. Ex. B at

24 (Doe Dep. 21:12–13) (date and time); id. at 27 (Doe Dep. 24:4–5) (location).

       2.      At the time Plaintiff’s car approached the intersection, the traffic light governing

eastbound traffic on C St. at that intersection was red.   Ex. C at 10 (Roe Dep. 8:19–22).




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APPENDIX 2: SAMPLE RESPONSE TO STATEMENT OF UNDISPUTED MATERIAL
                              FACT
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


JANE DOE,

       Plaintiff,

         v.                                                        No.    -cv-        -ZMF

JOHN ROE,

       Defendant.


 PLAINTIFF’S RESPONSE TO THE DEFENDANT’S STATEMENT OF UNDISPUTED
                           MATERIAL FACT
       1.      On December 5, 2019 at approximately 5:00 p.m. Plaintiff was in her car and was

traveling eastbound on C St. NW, approaching the intersection with 3rd St. NW. Ex. B at 24

(Doe Dep. 21:12–13) (date and time); id. at 27 (Doe Dep. 24:4–5) (location).

       Plaintiff’s Response: Undisputed.
       2.      At the time Plaintiff’s car approached the intersection, the traffic light governing

eastbound traffic on C St. at that intersection was red. Ex. C at 10 (Roe Dep. 8:19–22).

       Plaintiff’s Response: Disputed in part.      The traffic light governing only left turns was
red. Dkt. 51-3 at 12 (Roe Dep. 10:16–17). At the time Plaintiff’s car was approaching the

intersection, the traffic light governing traffic proceeding through the intersection or turning right

was turning from green to yellow. Id. at 15 (Roe Dep. 13:2–3).




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